      Case 2:21-cv-08230-JAK-E Document 17-1 Filed 10/25/21 Page 1 of 2 Page ID #:201
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 Attorneys for Plaintiff WAG Acquisition L.L.C.
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 WAG ACQUISITION, L.L.C.                                                CASE NUMBER

                                                         Plaintiff(s)
                                                                                              2:21-cv-08230-JAK-E
                             v.
 THE WALT DISNEY COMPANY and
 DISNEY STREAMING SERVICES LLC,                                          (PROPOSED) ORDER ON APPLICATION OF
                                                                         NON-RESIDENT ATTORNEY TO APPEAR IN
                                                      Defendant(s).          A SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
 Liston, David G.                                                                 of   Liston Abramson LLP
 Applicant’s Name (Last Name, First Name & Middle Initial                              The Chrysler Building
 (212) 257-1644                          (917) 633-5568                                405 Lexington Avenue, 46th Floor
 Telephone Number                        Fax Number                                    New York, NY 10174
 alex.patchen@listonabramson.com
                             E-Mail Address                                            Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
 WAG Acquisition, L.L.C.


 Name(s) of Party(ies) Represent                                  Plaintiff(s) ☐ Defendant(s) ☐ Other:
and designating as Local Counsel
 White, William A.                                                                of   Hill, Farrer & Burrill LLP
 Designee’s Name (Last Name, First Name & Middle Initial                               One California Plaza, 37th Floor
                                                                 (213) 624-            300 South Grand Avenue
 121681                           (213) 621-0816                 4840                  Los Angeles, CA 90071
 Designee’s Cal. Bar No.          Telephone Number               Fax Number
 wwhite@hillfarrer.com
                             E-Mail Address                                            Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
 ☐GRANTED
 ☐DENIED:             ☐   for failure to pay the required fee.
                      ☐   for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐   for failure to complete Application:
                      ☐   pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                          is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐   pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                          District.
                      ☐ because

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IT ISCase
     HEREBY   FURTHER ORDERED
          2:21-cv-08230-JAK-E  THAT the17-1
                              Document  Application
                                              Filed fee, if paid: Page
                                                    10/25/21      ☐ be refunded ☐ not be
                                                                        2 of 2 Page   ID refunded.
                                                                                          #:202

Dated: Click here to enter a date.
                                                                          U.S. District Judge/U.S. Magistrate Judge




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